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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: May 16, 2019

 ______________________________________________________________

                            UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION AT DAYTON
In re: Tagnetics Inc.,
                                                       Case No.   19‐30822

                                                       Judge Humphrey
                                                       Chapter 7



                    Order Scheduling Trial on Involuntary Petition (doc. 1)
                               and Ordering Other Matters

                                               Trial

         IT IS HEREBY ORDERED that a trial shall be held on June 12, 2019 at 9:30 a.m. before
United States Bankruptcy Judge Guy R. Humphrey in the West Courtroom on the First Floor
of The United States Bankruptcy Court, 120 West Third Street, Dayton, Ohio on the following
filings:

          Involuntary Chapter 7 Petition Against a Non‐Individual (doc. 1), filed by Petitioning
           Creditors Kenneth W. Kayser, Ronald E. Early, Kayser Ventures Ltd, Jonathan
           Hager, Robert Strain and S‐Trek Inc. on March 19, 2019

          Tagnetics Inc.’s Answer to Involuntary Bankruptcy Petition (doc. 10), filed on May
           13, 2019

The purpose of the scheduled trial is to determine if an order for relief should be entered in
this Chapter 7 case. See 11 U.S.C. § 303(b) and (h). As part of the trial, the court also will hear
any and all evidence concerning Tagnetics Inc.’s allegation that the petition was filed in bad
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faith by the petitioning creditors. Any damages hearing would be scheduled separately only
if the petition is dismissed and the court enters a separate finding that any of the petitioning
creditors acted in bad faith by filing the involuntary petition. See 11 U.S.C. § 303(i)(2).

       The parties shall cooperate expeditiously in any needed discovery. LBR 7026‐1(a).
Notwithstanding LBR 7026‐1(b), the parties shall, prior to filing any discovery motion,
contact the Courtroom Deputy by email at Joni_Behnken@ohsb.uscourts.gov or by phone
at 937‐225‐2863 concerning any discovery disputes and any such issue will be addressed as
promptly as practicable by the court. See Fed. R. Bankr. P. 1013(a) (requiring the issues
concerning a “contested petition” be determined at the “earliest practicable time”).

       Further, although this court attempts to remain sensitive to procedural issues
involving pro se parties who are unfamiliar with bankruptcy law, the court notes that all
parties, including pro se parties, are required to comply with the United States Bankruptcy
Code, Federal Rules of Bankruptcy Procedure, Local Bankruptcy Rules and this court’s
orders.

       Witness and Exhibit(s) Lists and Filing, Presentation, and Admission of Exhibits

        In accordance with the provisions of Local Bankruptcy Rule 7016‐1, counsel shall
complete the appropriate Local Bankruptcy Rule Form 7016‐1 (Attachment A) Witness
List(s), containing the person(s) who the Petitioning Creditors, Tagnetics or other parties
may call, or have available for testimony at the trial, including separately designated expert
witnesses, which shall be filed with the court and exchanged with counsel not later than
June 7, 2019.

       In accordance with the provisions of Local Bankruptcy Rule 7016‐1, counsel shall
complete the appropriate Local Bankruptcy Rule Form 7016‐1 (Attachment B) Exhibit List(s).
The Exhibit List(s), together with complete copies of all proposed exhibits which the
Petitioning Creditors or Tagnetics may offer as exhibits individually and/or jointly, shall be
filed with the court and exchanged with opposing counsel not later than June 7, 2019.
Exhibits not timely exchanged may not be admitted at the trial.

      Each party shall pre‐mark all exhibits. The trial will not commence until all exhibits
       have been suitably labeled. Absent unusual circumstances the Courtroom Deputy will
       not mark exhibits during the course of the trial.

      Parties shall mark exhibits as follows:

              Numbers – Petitioning Creditors
              Letters – Tagnetics

      At the conclusion of the trial, counsel shall provide an original hard copy of each
       exhibit proffered to the court as evidence during the course of the hearing to be
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       retained by the court as part of the record. Presentation of all exhibits during the
       trial shall be by means of the court’s electronic display system. If counsel intends to
       present exhibits electronically from a laptop computer or use other digital
       presentation devices, then counsel must provide at least three (3) days advance
       notice to the court to ensure security clearance and technical compatibility.
       Courtroom equipment testing and setup of counsel‐provided devices are the
       responsibility of counsel and should be completed prior to the hearing
       commencement time.

       Copies of witness lists ‐ Form 7016 (Attachment A) Witness List(s) and copies of
exhibit lists Form 7016 (Attachment B) Exhibit List(s) [Individual or Joint Exhibit(s)] are
available from the court’s website www.ohsb.uscourts.gov and from the Clerk of the
Bankruptcy Court in this District.

                                         Stipulations

       All stipulations of the parties, even if previously filed or referred to in documents
previously filed, shall be filed following this order as a separate document captioned
Stipulation(s) Of The Parties and all such stipulation(s) shall be filed not later than June 10,
2019.

       In the event that counsel propose to introduce documentary evidence, counsel are
required to exercise all good faith attempts to enter into stipulations concerning such
documentary evidence and avoid the appearance and testimony of any witness whose sole
purpose is to provide testimony, which will not be disputed, concerning the authentication
and identification of such documentary evidence.

                                     Memoranda of Law

       In the event the parties choose to do so, they may file a pre‐trial legal memorandum
not later than June 10, 2019. However, the filing of such memoranda is optional.

                                     Courtroom Conduct

       The following procedures are to be followed in all proceedings in open court:

       At the commencement of the trial, each attorney shall stand and state his or her
name and introduce by name the parties and witnesses present for that attorney's cause.
Each attorney shall also state that the names of all witnesses and copies of all proposed
exhibits have been exchanged with all other attorneys; or, shall state the names of all
witnesses and provide copies to all other attorneys of all proposed exhibits that have not
been exchanged.



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       All persons, whether counsel, parties, or witnesses, shall be formally addressed by
the surnames wherever possible.

       IT IS SO ORDERED.

Copies to:

All Creditors and Parties in Interest

Stephen B. Stern, 238 West Street, Annapolis, Maryland 21401

Douglas S. Draper, 650 Poydras Street, Suite 2500, New Orleans, Louisiana 70130

Leslie A. Collins, 650 Poydras Street, Suite 2500, New Orleans, Louisiana 70130

MaryAnne Wilsbacher, Office of the United States Trustee, 170 North High Street, Suite 200,
Columbus, Ohio 43215




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